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                                 UNITED STATES DISTRICT COURT
18
                                      DISTRICT OF NEVADA
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     STEPHAN CAMPBELL, on behalf of himself          Case No.: 2:23-cv-00861-GMN-EJY
     and all others similarly situated,
21                                                   DECLARATION OF MAX S. MORGAN,
                         Plaintiff,                  ESQ. IN SUPPORT OF PLAINTIFF
22         v.                                        STEPHAN CAMPBELL’S MOTION TO
23
                                                     COMPEL PRODUCTION OF
     EVERYTHING BREAKS, INC.,                        DOCUMENTS FROM DEFENDANT
24                                                   EVERYTHING BREAKS, INC.
                         Defendant.
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1            I, Max S. Morgan, declare as follows:
2            1.     I am an attorney at the law firm of The Weitz Firm, LLC, counsel of record for
3    Plaintiff Stephan Campbell (“Plaintiff”). I make this declaration un support of Plaintiff’s Motion
4    to Compel Discovery from Defendant Everything Breaks, Inc. (“Defendant”). I have personal
5    knowledge of the matters stated herein, and, if called as a witness, I could competently testify as
6    to the following.
7            2.     Mr. Campbell served his First Set of Discovery to Defendant Everything Breaks
8    on August 29, 2023.
9            3.     After requesting an extension of time, Everything Breaks responded to Plaintiff’s
10   First Set of Discovery on October 26, 2023. A true and correct copy of Defendant’s October 26,
11   2023 Responses and Objections to Plaintiff’s First Set of Interrogatories and Defendant’s
12   October 26, 2023 Responses and Objections to Plaintiff’s First Set of Request for Production of
13   Documents is attached as Exhibit A.
14           4.     On October 27, 2023, Mr. Campbell wrote to Everything Breaks and advised that
15   documents responsive to Request No. 21 had not been produced. A true and correct copy of the
16   October 27, 2023 correspondence is attached as Exhibit B.
17           5.     On November 2, 2023, I held a telephonic meet and confer with Attorney Jamey
18   Campellone.
19           6.     During the teleconference, Mr. Campbell requested that the call records be
20   produced and clarification regarding Everything Breaks’ responses to Request Nos. 13 and 14 as
21   they were inconsistent with Everything Breaks’ position that it obtained Mr. Campbell’s lead
22   information from Otto.
23           7.     Everything Breaks advised that because it did not obtain Mr. Campbell’s
24   information directly from Otto, it responded “none” because it did not get the lead directly from
25   Otto.
26           8.     Mr. Campbell advised that his request seeks information that originated from Otto
27   and requested Everything Breaks amend its response to provide the relevant information.
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1           9.      Everything Breaks agreed to review and consider amending certain responses, but
2    refused to provide the call records and also refused to explain how it obtained Mr. Campbell’s
3    information that originated with Otto.
4           10.     In an effort to obtain the list of leads that were procured by Everything Breaks
5    that originated with Otto, Mr. Campbell served a subpoena on Otto Quotes, LLC.
6           11.     Otto responded that it had no agreement, communications or transactions with
7    Everything Breaks.
8           12.     Otto produced a document indicating Mr. Campbell’s lead was sold only to
9    QuinstreetBidding.
10          13.     Mr. Campbell served a subpoena on QuinStreet.
11          14.     QuinStreet responded that it had no records related to Mr. Campbell and did not
12   purchase any leads from Otto.
13          15.     On November 16, 2023, Mr. Campbell served his Third Set of Discovery to
14   Defendant Everything Breaks, Inc.
15          16.     On December 22, 2023, Everything Breaks responded to Plaintiff’s Third Set of
16   Discovery. A true and correct copy of Defendant’s December 22, 2023 Responses and
17   Objections to Plaintiff’s Third Set of Discovery is attached as Exhibit C.
18          17.     On January 5, 2023, the parties held another telephonic meet and confer. Present
19   during the meet and confer were Chris Miltenberger and Max Morgan for Mr. Campbell and
20   Jamey Campellone for Everything Breaks.
21          18.     The parties were unable to resolve their disputes with respect to Interrogatory
22   Nos. 12-15 and Request Nos. 13, 14 and 21.
23          19.     Everything Breaks has not produced the class calling records and refuses to
24   respond to discovery seeking how it obtained Mr. Campbell’s information from Otto.
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1           I declare under penalty of perjury that the foregoing is true and correct. Executed this
2    11th day of January, 2024 in Philadelphia, Pennsylvania.
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                                                  s/ Max S. Morgan
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                                                  Max S. Morgan
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